    Case 2:21-cv-00486-DDP-JEM Document 46 Filed 05/12/22 Page 1 of 3 Page ID #:540

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                            May 12, 2022


       No.:              22-55480
       D.C. No.:         2:21-cv-00486-DDP-JEM
       Short Title:      Howard Iten v. County of Los Angeles


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Motions filed along with the notice of appeal in the district court are not
       automatically transferred to this court for filing. Any motions seeking relief from
       this court must be separately filed in this court's docket.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
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                    UNITED STATES COURT OF APPEALS
                                                                       FILED
                            FOR THE NINTH CIRCUIT
                                                                       MAY 12 2022
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS




   HOWARD ITEN,                                  No. 22-55480

                Plaintiff - Appellant,
                                                 D.C. No. 2:21-cv-00486-DDP-JEM
    v.                                           U.S. District Court for Central
                                                 California, Los Angeles
   COUNTY OF LOS ANGELES,
                                                 TIME SCHEDULE ORDER
                Defendant - Appellee.



 The parties shall meet the following time schedule.

 If there were reported hearings, the parties shall designate and, if necessary, cross-
 designate the transcripts pursuant to 9th Cir. R. 10-3.1. If there were no reported
 hearings, the transcript deadlines do not apply.

  Thu., May 19, 2022            Appellant's Mediation Questionnaire due. If your
                                registration for Appellate CM/ECF is confirmed after
                                this date, the Mediation Questionnaire is due within
                                one day of receiving the email from PACER
                                confirming your registration.
  Mon., June 13, 2022           Transcript shall be ordered.
  Mon., July 11, 2022           Transcript shall be filed by court reporter.
  Mon., August 22, 2022         Appellant's opening brief and excerpts of record
                                shall be served and filed pursuant to FRAP 31 and
                                9th Cir. R. 31-2.1.
  Mon., September 19, 2022 Appellee's answering brief and excerpts of record
                           shall be served and filed pursuant to FRAP 31 and
                           9th Cir. R. 31-2.1.
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 The optional appellant's reply brief shall be filed and served within 21 days of
 service of the appellee's brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.

 Failure of the appellant to comply with the Time Schedule Order will result in
 automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                             FOR THE COURT:

                                             MOLLY C. DWYER
                                             CLERK OF COURT

                                             By: Janne Nicole Millare Rivera
                                             Deputy Clerk
                                             Ninth Circuit Rule 27-7
